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                                                                       Page 102
         1    they refused to do so.        We filed a lawsuit.

         2           Q       I'll ask you the question again.

         3                   At any point in time, did RBT or

         4    yourself submit an FRT-15 to the ATF for

         5    classification?

         6                   It's a yes or a no question.         You either

         7    submitted it, or you did not.

         8           A       No, it's not a yes-or-no question.

         9                   Because even after the lawsuit was -- at

       10     a point in the lawsuit, in Florida, before it was

       11     dismissed, the judge asked us if we'd be willing to

       12     remand this issue back to the ATF.          The ATF at that

       13     point even refused to take the remand.           They weren't

       14     willing to.

       15                    So after that case was dismissed, we

       16     then submitted all of our documentation to the ATF

       17     and asked for reconsideration.

       18                    So all of our documents, our videos, all

       19     of our evidence, our expert reports -- we submitted

       20     that to the ATF again after the case was dismissed

       21     and asked for them to reconsider.

       22                    Now, did that include a physical sample?

       23     I don't believe it did.        But it included --

       24            Q       That is the question.       Thank you for

       25     answering it.




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                                                                       Page 107
         1           A       That is correct.

         2           Q       Did you file a suit in Austin?

         3           A       No.

         4           Q       Does Mr. Maxwell live in North Dakota?

         5           A       No, he does not.

         6           Q       Okay.   Did you tell your -- did you tell

         7    your customers -- pardon me.

         8                   When you first started selling the

         9    FRT-15s, did you tell your customers that RBT did

       10     not submit the FRT-15 for classification?

       11            A       I believe we have countless emails to

       12     customers telling them that we did not submit the

       13     FRT-15 for classification.

       14            Q       This is prior to the July 2021

       15     cease-and-desist?

       16            A       Well, I don't know why we would --

       17     filing -- I mean, submitting something to the ATF

       18     for classification is completely voluntary.              It's

       19     not required.

       20                    It's a perfectly legal semi-automatic

       21     trigger, in my opinion.        It doesn't fire more than

       22     one round with a single function of the trigger.                  I

       23     don't know why we would do that.

       24                    I mean, I've already explained earlier

       25     in my testimony that the ATF has a history of




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                                                                       Page 108
         1    flip-flopping on opinions.

         2                   I mean, in very, very recent cases, they

         3    have been flip-flopping -- whether it's pistol

         4    braces, bump stocks, frame and receivers.            I mean,

         5    the list goes on and on and on.

         6                   I don't know why anyone would submit

         7    something to the ATF for classification if it's not

         8    mandatory.

         9                   And beyond that, the ATF even goes so

       10     far in their own handbook to say it's just their

       11     opinion.    It doesn't have the force and effect of

       12     law.

       13                    So, why would you?

       14                    Why would somebody volunteer themselves

       15     to this process when -- I mean, it's not uncommon

       16     for the ATF to take a very long, significant period

       17     of time -- maybe a year or more -- to classify

       18     something, if it's not required.

       19            Q       Okay.    I'll ask it a little bit

       20     differently.

       21                    Did you tell your customers that RBT did

       22     not submit the FRT-15 for classification in your

       23     marketing materials?

       24            A       No.     But --

       25            Q       Okay.




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                                                                       Page 109
         1           A       -- I don't know why I would have.

         2           Q       Understood.

         3                   Is it customary, in your view, for a

         4    company such as yourself trying to bring to market a

         5    firearm to submit that firearm to the ATF

         6    classification process?

         7                   MR. CONTARINO:     Objection; form.

         8           Q       Is it customary, in your view?

         9           A       The FRT-15 is not a firearm.         So I feel

       10     like your question doesn't apply.

       11                    But can you rephrase?

       12            Q       Yes.    Is it customary for....

       13            A       It is not customary at all for a trigger

       14     company to submit their triggers to the ATF for

       15     classification.

       16            Q       What do you mean by "trigger companies"?

       17            A       A company that manufactures triggers for

       18     a firearm, it is not customary that they submit them

       19     to the ATF for classification.

       20            Q       Is an FRT-15 a trigger?

       21            A       Yes.

       22            Q       Is it a conversion device?

       23            A       No.

       24            Q       Okay.   So it's a trigger?

       25            A       It's a trigger.




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                                                                       Page 148
         1    a subpoena?     Like I don't -- he has not told me he

         2    has received a subpoena.

         3           Q       Okay.    That's the only question I have

         4    for this document.

         5                   Do you recall giving an interview on

         6    TFBTV YouTube channel called "The FRT-15 Story:                 An

         7    interview with Rare Breed's President, Lawrence

         8    DeMonico" in or around September 29, 2021?

         9           A       I do remember giving that interview.

       10            Q       Okay.    And in this video -- in this

       11     video interview, do you recall saying that RBT was

       12     the only company that had the, quote/unquote, balls

       13     to sell the FRT-15?

       14            A       I don't remember saying that.

       15                    If you had the video to show, I'd be

       16     happy to watch it.       But it doesn't sound like

       17     something -- I mean, it does sound like something I

       18     would say, yes.

       19            Q       Okay.    So why do you think RBT was the

       20     only company that had the, quote/unquote, balls to

       21     sell the FRT-15?

       22            A       Well, I mean...it's....

       23                            (Witness reading.)

       24                                (Pause.)

       25            A       That interview, along with the interview




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                                                                       Page 149
         1    to Colin Noir, along with the video I put out and

         2    the press release, were all after the

         3    cease-and-desist -- that I've already stated we

         4    didn't agree with the language that was used in it

         5    and the fact that they wouldn't give us a copy of

         6    the classification report.

         7                   So I do feel like we honored our word

         8    that we were going to continue selling and fight it

         9    out in litigation.

       10            Q       If you had submitted the FRT-15 to the

       11     ATF for classification prior to selling the FRT-15,

       12     would you have received a classification report?

       13            A       That's quite the hypothetical.

       14                    I mean, I don't know how to answer a

       15     hypothetical -- I could answer it hypothetically.

       16            Q       Okay.

       17            A       Like they might not have sent one at

       18     all.   I mean....

       19                    But the fact that submitting to --

       20            Q       You would have received the

       21     determination by -- from the ATF prior to selling

       22     the FRT-15 as to whether or not it was considered a

       23     machinegun.     Right?

       24            A       I need you to rephrase, because I don't

       25     understand that question at all.




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